

Per curiam

Wju.iams absent. Whether the fifteen days are to be accounted inclusive or exclusive, depends not upon any practice, of the British courts, but upon the meaning and design of our own act, which seems to have been, that the appellee after coming to the clerk’s office, and finding the appeal lodged there, might have fifteen days for travelling to the most distant part of the State, to procure attendance of witnesses, and returning lo the court, and in otherwise preparing for the trial $ but if the fifteen days are to be accounted inclusively, he will have hut thirteen days allowed for those purposes. The fifteenth day is employed in travelling to the office and getting process, and the first day of the term he must be present in court ready for his trial, if we allow one of them to be inclusive, and the other exclusive, there will remain hut fourteen days. There should be fifteen clear days— at all events, the first day of the term must be e.xcludud. The case was adjourned to search for precedents on the application of the appellant’s counsel.
Note. — Overruled, Anonymous, post 462.
